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Re: Beeqb - Seeking Consent for Inspection
Peter Bryce <peter.bryce@buzko.legal>
Fri 5/17/2024 4:18 PM
To:​Speer, R. Taylor <TSpeer@foxrothschild.com>​
Cc:​Evgeny Krasnov <evgeny.krasnov@buzko.legal>;​Filipp Petkevitch <filipp.petkevitch@buzko.legal>;​Robert Lynch
<robert.lynch@buzko.legal>​
Hi Taylor,

Have you spoken to your client about this? Please advise, thank you.

Peter Bryce
Of Counsel

Buzko Krasnov
+1 (202) 509-1621
peter.bryce@buzko.legal
www.buzko.legal




From: Peter Bryce
Sent: Friday, March 15, 2024 12:32 PM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>; Filipp Petkevitch <filipp.petkevitch@buzko.legal>; Robert
Lynch <robert.lynch@buzko.legal>
Subject: Beeqb - Seeking Consent for Inspection

Dear Mr. Speer,

Happy Friday! Beeqb kindly requests permission for an agent or principal to inspect Beeqb’s
machines and containers at Blockquarry’s storage facility. This would ease our client’s mind as we
figure out a path forward, as he has been without direct access to his mining equipment for a year and
a half.
We would be glad to consent to reasonable supervisory or scheduling strictures your client suggests.
We anticipate that the inspection would be a brief and efficient process. To the extent possible, we
would also like to affix prominent labeling to this equipment, identifying it as property related to an
ongoing dispute, wherein Blockquarry is currently the bailee and Beeqb the ultimate owner. Open to
hearing your thoughts on this as well.
If this sounds amendable to you and your client, please let us know, and we can work on determining
the inspection date and any necessary terms and conditions. If there are any problems with these
proposals, please let us know how we might address or correct them.

Peter Bryce
Of Counsel

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